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UNITED STATES DISTRICT COURT
SOUTHER DISTRICT OF FLORIDA
WEST PALM BEACH

CASE NO.:

 

EUGENE WILLIAMS, an individual,
Plaintiff,
vs.

ADVANCED DISPOSAL SERVICES, INC,
a Delaware company,

Defendant.

 

COMPLAINT WITH DEMAND FOR JURY TRIAL
1. Plaintiff, EUGENE WILLIAMS, [Hereinafter “WILLIAMS” ], by and through the
undersigned attorney, alleges the following against Defendant, ADVANCED DISPOSAL
SERVICES, INC., [Hereinafter, “ADVANCED DISPOSAL SERVICES”], a Delaware company,
and states, to wit:
INTRODUCTION
2 This action is brought pursuant to Title VII of the Civil Rights Act of 1964, as
amended (42 U.S.C. § 2000e, et seq.). The jurisdiction of this Court is invoked to secure
protection of and redress for the deprivation of rights guaranteed by federal law involving
discrimination in employment.
JURISDICTION AND VENUE
a. This is an action which arises under Title VII of the Civil Rights Act of 1967, as

amended, (42 U.S.C. § 2000, et seq.).
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4. Jurisdiction is founded on 42 U.S.C. § 2000e-5(f)(3) and 28 U.S.C. § 1331 (Federal
Question).
2 Venue is proper in the Southern District of Florida pursuant to 42 U.S.C. § 2000e-
5(f)(3) Title VII “Venue”; and 28 U.S.C. § 1391(b) and ( c) (Venue generally).

EXHAUSTION OF ADMINISTRATIVE PROCEDURES
6. Plaintiff, EUGENE WILLIAMS, timely filed with the Equal Employment Opportunity
Commission, (“EEOC”), a charge of discrimination against Defendant, ADVANCED
DISPOSAL SERVICES, and received a notice of the right to sue from EEOC within ninety (90) |
days of the filing of this Complaint. A copy of the Plaintiff's Notice of Right to Sue Letter
issued by the EEOC is attached as Exhibit 1.

PARTIES

Ti At all times material to this action, Plaintiff, WILLIAMS, is/was a resident(s) of Palm
Beach County, Florida, is over the age of 18, and is otherwise sui juris.
8. At all relevant times, Defendant, ADVANCED DISPOSAL SERVICES, is/was a
Delaware for-profit corporation and authorized to do business in Florida, and conducts business
from its offices that are located in and throughout the State of Florida.
Gq. At all relevant times, Defendant, ADVANCED DISPOSAL SERVICES, was/is engaged
in an industry affecting commerce.
10. At all relevant times, Defendant, ADVANCED DISPOSAL SERVICES, employed
Plaintiff, WILLIAMS, within the meaning of 42 U.S.C. 2000e-(b).
11. Defendant, ADVANCED DISPOSAL SERVICES, engaged in policies and practices
which are/were willfully, intentionally and unlawfully discriminating against Plaintiff on basis of
his race (Black).

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CLAIMS OF PLAINTIFF WILLIAMS
COUNTS I & Il

 

COUNTI

RACE DISCRIMINATION UNDER TITLE VII

AGAINST ADVANCED DISPOSAL SERVICES
12. Plaintiff, WILLIAMS, sues Defendant, ADVANCED DISPOSAL SERVICES, and re-
alleges paragraphs | through 11, as if fully set forth herein, and are incorporated by this
reference.
1A, Plaintiff, EUGENE WILLIAMS, is a Black male, protected under Title VII (42 U.S.C. §
2000(e)(b)).
14. Defendant, ADVANCED DISPOSAL SERVICES, is an employer within the meaning of
Title VII. Moreover, at all time material hereto, Plaintiff, WILLIAMS is/was employed by
Defendant, ADVANCED DISPOSAL SERVICES, as a Recycle Driver at Defendant’s West
Palm Beach location in Palm Beach County, Florida.
15. | Defendant, ADVANCED DISPOSAL SERVICES, intentionally discriminated against
Plaintiff, WILLIAMS, because of his race (Black), in violation of Title VII, by engaging in the
following discriminatory acts:

i) Shortening Plaintiffs work hours and pay checks compared to Hispanic co-
workers, without giving the Plaintiff an explanation as to why his work hours
were being shortened;

li) Subjecting Plaintiff to different (and less favorable) treatment and conditions of

employment than Hispanic co-workers, where, on one occasion, Plaintiff was

bitten by a hookworm during his route which he reported to his supervisor,

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iii)

CARLOS “LNU” and also to JERDO “LNU”, (a Hispanic co-worker), both of
whom made fun of the Plaintiff without referring and/or advising the Plaintiff to
seek medical treatment. Thereafter, the parasite began to travel to the Plaintiff's
arm and Plaintiff had to seek independent medical treatment. Plaintiff also called
his Human Resources Office (“HR”) to report the hookworm bite incident, and
HR did nothing. Plaintiff was forced to pay for the costs of the necessary
associated medical care and treatment out of his pocket without reimbursement
from the Defendant or from Defendant’s workers compensation insurance carrier
(since the hookworm bite incident occurred on the job and was duly timely
reported by WILLIAMS).

Paying Plaintiff less than Hispanic co-workers who were doing the same type of
work under the same conditions as Plaintiff, who is Black. As one instance, on
May 16, 2018, Plaintiff complained to management that Hispanics co-workers
were making more money than Plaintiff and more than Black co-workers for the
same job and/or job route. Defendant then give Plaintiff a small increase to
silence Plaintiff: “Keep it between us.” Plaintiff was not satisfied with the small
increase in pay and Plaintiff requested a meeting with HR to discuss the
discrepancy and the mistreatment he was suffering at the place of employment.
WILLIAMS’ supervisors and HR refused Plaintiff's request for a meeting to
discuss the inequities existing between him and others like him as compared to
those employees who were Hispanic engaged in the same work as Plaintiff.

Subsequently Plaintiff was fired.

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16.

iv) Firing Plaintiff on July 19, 2018, under the pretext that Plaintiff abandoned

Plaintiff's work route.

iv) Denying Plaintiff benefits, such as accumulated paid time off and vacation, to

which the Plaintiff was entitled;

DAMAGES/PRAYER FOR RELIEF

As a direct and proximate result of the Defendant’s conduct, Plaintiff, EUGENE

WILLIAMS suffered the following injuries and damages.

a.

b.

Plaintiff was terminated from employment with Defendant. Although
Plaintiff has diligently sought other employment, he has not been able to
find a job. In addition, Plaintiff has incurred expenses in seeking other
employment.

Plaintiff suffered mental anguish and emotional distress.

WHEREFORE, Plaintiff, EUGENE WILLIAMS, prays that this Court:

a.

b.

Advance this case on the docket;

Assign this case for hearing at the earliest practicable date and cause this
case to be in every way expedited pursuant to 42 U.S.C. § 2000e-5(f)(5);
Issue a declaratory judgment that Defendant’s practices toward Plaintiff
violated his rights under Title VII;

Enjoin Defendant, its administrators, directors and supervisors from
continuing or maintaining the policy, practice, or custom of denying,
abridging, withholding, or conditioning the rights of employees on the
basis of their national origin, which rights are secured by Title VII.
Order Defendant to remedy the race discrimination against Plaintiff by:

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17

18.

19.

20.

1. Paying appropriate back pay;

2, Paying prejudgment interest; and
3. Providing any other relief that this Court deems appropriate.
f. Enter a judgment against Defendant for compensatory damages;
g. Enter a judgment ee Defendant for punitive damages; and
h. Enter a judgment against Defendant for costs and a reasonable award of

attorneys’ fees pursuant to Title VII.
COUNT II
VIOLATION OF TITLE VII, 42 U.S.C. §§ 2000(E)
FOR UNLAWFUL RETALIATION

Plaintiff, EUGENE WILLIAMS, sues Defendant, ADVANCED DISPOSAL SERVICES,
INC., and re-alleges Paragraph 1 through 11, as if fully set forth herein and incorporated
by this reference.
Because of his request for proper and accurate compensation, and his request for a
meeting with HR to complain about discrimination and a hostile work environment,
WILLIAMS was unlawfully terminated from his employment by Defendant.
As such, Defendant has denied Plaintiff an opportunity for employment and otherwise
terminated his employment on the basis of WILLIAMS’s demands for payment of the

wages due him for services rendered and at the rate at which Hispanic co-workers are

compensated by Defendant.

As a direct and proximate result of the intentional discriminatory and retaliatory actions
and practices by Defendant, ADVANCED DISPOSAL SERVICES, its agents and

employees, WILLIAMS has suffered and continues to suffer injury, including loss of

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21.

employment, loss of income, loss of other employment benefits and has suffered and

continues to suffer emotional distress, humiliation, great expense, embarrassment and

damage to his reputation.

DAMAGES/PRAYER FOR RELIEF

For these reasons, Plaintiff, EUGENE WILLIAMS, asks for judgment against

ADVANCED DISPOSAL SERVICES, for the following:

1)

iii).

v1)

vil)

viii)

Damages in the form of any pay, wages, salary, employment benefits or other

compensation denied or lost by the foregoing act(s);

Prejudgment interest at the prevailing legal rate from the date WILLIAMS was
terminated, relative to the award of pay, wages, salary, employment benefits or
other compensation and actual monetary losses sustained by her as a result of the
foregoing acts;

Post-judgment interest;

Compensatory damages to the maximum extent allowed under the law for

WILLIAMS’s emotional pain, suffering and mental anguish;

A declaratory judgment;
Front pay and back pay;

An award of costs and reasonable attorney's fees;

All other just, equitable and proper relief to which Plaintiff WILLIAMS is entitled

under the circumstances.

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DEMAND FOR JURY TRIAL
Plaintiff demands trial by jury as to all counts and issues so triable by a jury as a matter of
right.
Respectfully submitted on this _1“ day of _October_, 2019.

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